STATEMENT BY THE COURT.
On December 5, 1932, appellee presented to the county court of Pike County its claim for the sum of $2,109.60 for allowance against the general highway funds of the county. On the same date said claim was allowed in the amount demanded. After a change of administration in 1933, the prosecuting attorney of the district, in behalf of Pike County, filed its motion to vacate the order made and entered on December 5, 1932, and, as grounds therefor, alleged that fraud was practiced on the court in procuring said judgment and order. On March 9, 1933, this motion and petition to vacate came on for hearing in the county court, and the court, after hearing testimony, entered its order and judgment vacating and setting aside its order of December 5, 1932. Thereafter, appellee filed its petition in the Pike County Circuit Court, alleging that the county court order of March 9, 1933, vacating its previous order of December 5, 1932, was void for the following reasons: First, *Page 290 
that said judgment is void upon its face; second, that the county court was without jurisdiction to determine same; third, that the order was entered by said county court out of term time.
The circuit court directed the issuance of the writ of certiorari, and, in response thereto, the records and judgment of the county court were lodged in the circuit court. After hearing in the circuit court, the following judgment was entered, omitting formal parts:
"On this 28th day of March, 1933, comes on the above cause for hearing upon writ of certiorari from Pike County court. Upon presentation of the record in said cause, as certified up from the county court, and the submission of the same for the consideration of the court, and after argument of counsel, both for plaintiff and defendant, and the court, in all matter thereunto pertaining being fully advised, finds: That the judgment of the county court is void for noncompliance with the law, and based upon a complaint which did not state a cause of action under the law. It is therefore by the court considered, ordered and adjudged that writ of certiorari be sustained, and the judgment of the county court be quashed."
This appeal is prosecuted to reverse the judgment of the circuit court.
(after stating the facts). Appellee contends that the judgment of the circuit court quashing the order of the county court made and entered on March 9, 1933, should be affirmed for the following reasons:
First, that the circuit court heard testimony on trial of the cause which is not before this court on appeal. This contention is not substantiated by the record and judgment. On the contrary, the judgment shows upon its face that the cause was submitted to the circuit court upon the record as certified up from the county court, etc. This recital is an affirmative showing that no testimony was heard other than the records of the county court.
The second contention is, that the county court had no jurisdiction or authority in law to vacate a previous *Page 291 
judgment or order allowing claims. This contention is without merit. Section 6290 of Crawford  Moses' Digest affords ample authority to the county court for vacating and setting aside previous orders, which fall within the purview of said section.
The third contention is, that the county court order and judgment of date, March 9, 1933, does not show upon its face that it had jurisdiction of the person or subject-matter. This contention is grounded upon the theory that no presumptions are indulged in aid of judgments and orders rendered by county courts. This contention also is without merit. The county courts of the respective counties of the State are courts of superior jurisdiction in disbursing funds of the county and in allowing claims against such funds. This is true, because 28 of article 7 of the Constitution of 1874 creates the county courts, and vests in them the exclusive jurisdiction to disburse county funds, and to allow claims against the same. The county courts of the respective counties of the State, while exercising the jurisdiction conferred by constitutional mandate, are exercising functions of a court of superior jurisdiction. Collins v. Paepcke-Leicht Lumber Co., 74 Ark. 81, 84 S.W. 1044; Massey v. Doke,123 Ark. 211, 185 S.W. 271.
Lastly, it is insisted that the judgment and order of the county court vacating and setting aside its previous order is void, because it shows upon its face that it was made and entered on March 9, 1933, which date is beyond the regular January, 1933, term. This contention is precluded by the announcement heretofore recited. This court will presume if necessary to sustain jurisdiction, that the county court adjourned by proper order from its January, 1933, term until the date of the entry of this judgment, nothing to the contrary appearing in this record.
For the reasons aforesaid, the presumption is indulged that the county court had jurisdiction of the person and subject-matter therein determined; also that it was proceeding on March 9, 1933, in conformity with a valid adjourning order. It therefore follows that the judgment of the county court made and entered on March *Page 292 
9, 1933, is not void upon its face, but, on the contrary, is a valid and biding order, and judgment until reversed or modified on appeal.
The judgment of the Pike Circuit Court is therefore reversed and remanded.